            Case 1:18-cr-00204-NGG              Document 932-3 Filed 09/26/20                 Page 1 of 5 PageID #:
                                                          16347
Date:   06/16/2020                                                                                                          Facility: DC

Time:     04:24 PM                                Federal Bureau of Prisons
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Message
FROM: 57005177 RANIERE, KEITH ALAN
TO: "Suneel Chakravorty"                             >
SUBJECT: Affidavit points
DATE: 06/09/2020 03:03 PM


We the Prosecutors of United States vs. Raniere et al, specifically Richard Donoghue, Mark Lesko, Tanya Hajjar, Moira Kim
Penza, in upholding our vow of office, and sacred duty to the people of the United States, do hereby affirm and personally initial
all that are true with respect to this case (if any of these are denied, please initial, write, "denied" next to your initials and,
optionally, attach an explanation):

1. We the Prosecutors did not knowingly make, or allow to be made, any false statements to the court.

RD_______                     ML_______                     TH_______                      MKP_______

2. We the Prosecutors have never tampered with evidence. All evidence presented had a well documented chain of
   custodywith no gaps. All evidence in our custody was secure and remained untouched until forensic analysis.

3. We the Prosecutors did not allow any of our witnesses to commit perjury about events and/or evidence known to,
   orpossessed by, us.

4. We the Prosecutors handled all potential witnesses properly. No witness was ever shown any discovery, or in any
   waychallenged to augment or change his or her opinions or beliefs by us.

5. We the Prosecutors never threatened any potential witness with indictment in an attempt to dissuade him or her
   fromparticipating in, or supporting, the defense.

6. We the Prosecutors properly investigated, and had no reason to suspect, collusion amongst our witness or any
   hiddenfinancial motives. We the Prosecutors did not block, or in any way object to, an investigation into such things by the
   defense.

7. We the Prosecutors have stated in open court we have victims who feared for their lives. We knew this was a valid
   fearbecause the claims were properly investigated. It was discovered, in each case, there were legitimate threats to the life
   of the witness.

8. We the Prosecutors did not know of, and had no reason to suspect, a potential civil law suite through Neil Glazer
   involvingtrial witnesses other than Mark Vicente.

9. We the Prosecutors have stated, and allowed to be stated, by sworn affidavit, to the court and elsewhere, Mr. Raniere left
   theU.S.A. only once to travel to Mexico and never returned until his arrest.

10. We the Prosecutors did not knowingly make any false or misleading statements to the public or media.

Message
FROM: 57005177 RANIERE, KEITH ALAN
TO: "Suneel Chakravorty"
SUBJECT: Affidavit points notes
DATE: 06/09/2020 03:03 PM


The prosecutors of the case United States vs. Raniere et al (Richard Donoghue, Mark Lesko, Tanya Hajjar, Moira Kim Penza)
have each been served a copy of the following cover letter and ten points to initial. Every prosecutor in the United States of
            Case 1:18-cr-00204-NGG               Document 932-3 Filed 09/26/20                  Page 2 of 5 PageID #:
                                                           16348
Date:   06/16/2020                                                                                                             Facility: DC

Time:     04:24 PM                                  Federal Bureau of Prisons
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                                                    Sensitive But Unclassified
America should be able to affirm each of these points with confidence. Any point not upheld is an unacceptable violation of due
process. Each prosecutor has three options: 1. Affirm each point; 2. Deny points with or without an explanation; or 3. Ignore the
communication which is an immoral refusal to be accountable to the people he or she serves.

We hope the press and media will provide the appropriate pressure to hold these prosecutors accountable and get answers to
their behavior, not just for this case, but for all cases they pursue. It is time a different mechanism of public accountability be
created beyond the grand jury. This public media pressure could aid in creating that mechanism and bring justice back to our
court rooms.

United States vs. Raniere et al is a case of extreme prejudice and social repugnance, but it just happens to illustrate the
ugliness hidden behind the false ascendancy of prosecutors and judges.

Notes to the ten points served upon the prosecution:

1. This is direct perjury by the prosecution (for an example of this see 9 below, and statements about the use of Mr.
   Raniere'scell phone.)

Evidence: Filed documents relating to flight risk, transcripts about visa and cell phone use.

2. The computer and camera evidence had a broken chain of custody. While in the custody of the prosecution, but
   beforeforensic analysis, the evidence was mysteriously accessed and altered.

Evidence: Suneel

3. The prosecution suborned perjury (See Appendix). This was also quite visible with the testimony of Mark Vicente
   inrelationship to an SOP training. In testimony elicited by the prosecution, Mr. Vicente stated Mr. Raniere discovered a
   certain SOP training was improper and just left forcing Mr. Vicente, amongst others, to deal with the fallout. The truth is very
   different than the testimony. Mr. Raniere stayed and directly addressed the group taking responsibility and offering an
   additional training. The questions are: Did Mr. Vicente not remember this? Did the prosecution know this? The answer
   resides in a video of the event, filmed by Mr. Vicente himself, and in the possession of the prosecution.

Evidence: Marc A. motion, SOP video

4. This is a corruption of truth, due process, and a violation of the Defendant's constitutional rights. This also causes
   irreparabledamage to the truth. The prosecutor's job is to investigate the situation, not create the situation, or manipulate it,
   so they can win at trial. The truth should win at trial, not a prosecutorial strategy or prosecutorial coercion, manipulation or
   "spin".

Evidence: Michelle, Samantha, Siobhan, India, Mark Elliot speech.

5. This violates the Defendant's constitutional rights. Here are the situations:

Evidence: India convo? Michelle? Nicki? Mark Elliot speech? Siobhan? Sam? Mark A. motion

6. This is prosecutorial obstruction of justice. It is not the prosecution's job to be as a normal attorney and object to
   anythingpotentially objectionable. If there is a valid pursuit of truth, even if it exonerates someone the prosecution believes is
   a criminal, it is the prosecution's duty to require, allow, uphold, and facilitate investigation to uncover any hidden financial
   motive or collusion amongst witnesses and informants. The prosecution should have suspected a class action suit, even
   collusion, when Neil Glazer, a civil class action attorney, was the witness attorney during 33 interviews with many, many, of
   the potential witnesses. As such, the prosecution needed to investigate, and allow the transparent investigation, for financial
   motive and collusion. By not allowing this investigation, the prosecution becomes party to the crime.

Evidence: Marc A. motion
            Case 1:18-cr-00204-NGG              Document 932-3 Filed 09/26/20                  Page 3 of 5 PageID #:
                                                          16349
Date:   06/16/2020                                                                                                           Facility: DC

Time:     04:24 PM                                 Federal Bureau of Prisons
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7. The legitimate claim of fearing for one's life is a grave claim. As such, it was used in bail hearings to ensure Mr.
   Ranierewould not be released, and to inspire the court to create a unique, high level of anonymity throughout the
   proceedings and trial. This claim helped turn a normal, white collar, non-violent, process into an exaggerated mystery of life
   and death situations. The use of such a claim, if not verified and legitimate, constitutes a strategic lie and perjury. In every
   case, the prosecution should have investigated each claim of life threat, and found it to be both legitimate and real. In this
   case, there were no threats, no violence, at most the "fear" of release of collateral. Note: Mr. Raniere and NXIVM lead a
   peace movement in Mexico and are committed to non-violence.

Evidence: Trial and bail hearing transcripts, no violence, no threats, peace movement

8. If they did know, it would be their duty to inform the defense team, court, and jury, given the testimony of their witnesses
   wasotherwise. If they did suspect, it would be their duty to investigate it and inform the defense team, court, and jury. It goes
   beyond credibility, given the evidence, that the prosecution did not outright know, question, or suspect this.

Evidence: Marc A. motion

9. In order to not commit perjury the prosecution must have no knowledge, or reason to believe, Mr. Raniere traveled back
   tothe United States. They had Mr. Raniere's visa records and did find two trips to Fiji before his trip to Mexico. The visa
   records reveal Mr. Raniere did travel back to the United states and should also reveal Mr. Raniere's application to enter
   Mexico only asked for a few weeks stay. He was granted six months.

Evidence: visa records (truth), Oxenberg's book

10.     The prosecution subverted and ignored justice, the collateral effects of their actions, and the purpose of their office,
  togarner praise for themselves politically. The prosecution should never gloat, exaggerate, speak with dishonor, or in any
  way uphold winning over justice. They should have nothing to add or interpret over the proceedings and verdict. If anything it
  should be a somber statement that it is sad crime exists, and that the situation at hand came to a point where use of the
  criminal justice system was necessary. Here are a few examples directly from the EDNY press release:

Evidence: EDNY press release, Marc A. affirmation?

Summary: In this case, the prosecution committed perjury, suborned perjury, obstructed proper investigation of collusion, aided
in this collusion amongst their key witnesses, and exalted, without investigation, unfounded malicious claims of fear of loss of
life, thereby creating excessive bails, and unprecedented protections for the colluding witnesses. Potential witnesses for the
defense were threatened, corrupted, and coerced along with the prosecution's tampering with vital evidence. After all of this,
the prosecution made inaccurate and inflammatory statements to the press, to justify, cover, and praise their actions.

Prosecutors and Judges should no longer be able to hide and shelter corruption, political agenda, and prejudicial injustice.
            Case 1:18-cr-00204-NGG             Document 932-3 Filed 09/26/20                Page 4 of 5 PageID #:
                                                         16350
Date:   06/16/2020                                                                                                      Facility: DC

Time:     04:24 PM                                Federal Bureau of Prisons
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Message
FROM: 57005177 RANIERE, KEITH ALAN
TO: "Suneel Chakravorty"
SUBJECT: Affidavit cover
DATE: 06/09/2020 03:02 PM


Please initial each statement to which you agree, and return to the above address by 4/XX/20. Copies of this have been sent to
the major news outlets covering this case. Simply affirm, deny (with possible explanation) or ignore each statement. In our
eyes, as a government employee sworn to serve us, it is a moral imperative that you do not ignore this. Ignoring this is a show
of neglect of responsibility, accountability, and defiance of your ultimate employers, we the people.

Please be both responsible and accountable to the people you serve.

With hopes for a forward moving, justice building, relationship of mutual respect. Thank you.
            Case 1:18-cr-00204-NGG               Document 932-3 Filed 09/26/20                   Page 5 of 5 PageID #:
                                                           16351
Date:   06/16/2020                                                                                                              Facility: DC

Time:     04:24 PM                                  Federal Bureau of Prisons
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Message
FROM: 57005177 RANIERE, KEITH ALAN
TO: "Suneel Chakravorty" <
SUBJECT: Media Cover Letter
DATE: 06/09/2020 03:02 PM


This is a petition to inspire public accountability of prosecutors; in particular, the prosecutors of United States vs., Raniere et al.
We will be serving upon the prosecution 10 simple points to be affirmed (see enclosed). Any prosecutor should be able to
affirm these points, but in this case each simple point is untrue.

It is our hope to inspire a new addition to the justice system to augment the grand jury. Public scrutiny of prosecutors and
judges will help to bring justice reform. Please sign below the petition which will be served with the 10 point affidavit to the
prosecution. Also put the media source or company with whom you are affiliated. Once you have signed this petition we will
give you additional information. We will also keep you apprised of events surrounding this effort. We hope you will also actively
report on if the prosecutors answer our request and what they say. We believe, without media support, this vital request will just
be ignored. Please support this by both signing the petition and voicing the importance of the prosecutor's responsiveness.

By signing this petition I affirm my belief the prosecution, in being accountable to the people, should affirm (or deny) these 10
points.

Note: not all people signing this petition are media representatives.
